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ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

BRAYDEN GRACE (“GRACE?” or “the Defendant”) is a 19-year old resident of
Columbus, Ohio. GRACE and others, including Conspirators 1 through 5, created and operated
an online group they called “Purgatory” via online messaging applications including Telegram
and Instagram. GRACE’s user names and monikers included “Simswapplng,” “bit coin,” “user
data god,” “Tuyal,” and “yahoo.emails.”

GRACE and others in Purgatory engaged in Swatting and Doxxing to strike out at
perceived rivals, gain online notoriety, attempt to make money, and for their own enjoyment.

GRACE and the Conspirators placed Swatting calls to police and other emergency
departments where they would falsely report emergencies in the form of violent acts at particular
locations. They did so to cause armed police responses to the locations with the intent to
threaten, intimidate, and harass individuals and entities.

After GRACE and the Conspirators in Purgatory Swatted or Doxxed their victims, they
posted photographs, news reports and messages on a public facing Purgatory Telegram page to
claim responsibility for their actions, brag about their prowess, and advertise their “swatting
services.”

On or about December 10, 2023, CONSPIRATOR 2, using the moniker “hells ruin,”

posted “Welcome we are back purgatory has made a return and will be posted at the top as usual

we are aliance [sic] with Hells Gates our other team. We thank you and always for support” in an

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Instagram group chat in which CONSPIRATOR 3, using the moniker “bloodsheds,” was a
participant.

On or about December 15, 2023, GRACE, using the moniker “yahoo emails,” posted a
swatting script and the message “My swat scripts are crazy. What I did will ... That’s how u get
like a bomb squad and a few swat trucks” in an Instagram group chat in which Conspirator #1,
using the moniker “bloodsheds,” was a participant.

On or about December 18, 2023, a conspirator created a public Telegram channel with
the name “Purgatory” (the “Purgatory Telegram Channel”) in which CONSPIRATOR 2, using
the moniker “ex-nightmare,” was a participant, that contained the caption “WELCOME TO
PURGATORY DOXXING AND SWATTING GROUP of 2024.”

On or about December 18, 2023, a conspirator created a private Telegram group chat
with the name “PURGATORY Chat.”

On or about December 18, 2023, GRACE, using the moniker “bit coin,” created a private
Telegram group chat with the name “bit & cursx/Mew & Nightwatch/Mew & extort, EX
NIGHTMARE?” which he then changed several minutes later to the name “purgatory GC” (the
“Purgatory GC”).

On or about December 18, 2023, GRACE, using the moniker “bit coin,” posted in the
Purgatory GC a link to the Purgatory Telegram Channel. That same day, GRACE used the
moniker “bit coin,” to post in the Purgatory GC: “But @everyone @Ex-Nightmare is owner im
co-owner ... of purgatory” and “we taking this team to the next step.”

On or about December 31, 2023, GRACE, using the moniker “bit coin,” stated in a

private Telegram chat in which CONSPIRATOR 3, using the moniker “bloodshed ddd,” and

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CONSPIRATOR 2, using the moniker “ex nightmare,” were participants: “btw u guys can do
whatever to cursx aka zion.”

On or about January 1, 2024, CONSPIRATOR 2, using the moniker “ex nightmare,” and
GRACE, using the moniker “bit coin,” shared personal identifying information about Victim #1,
who used the monikers “cursx” and “zion,” and Victim #1°s mother in a private Telegram chat.

On or about January 2, 2024, a conspirator posted on the Purgatory Telegram Channel a
link to a website that contained personal identifying information about Victim # 1 and the
following message: “FULL DOX ON [Victim #1] AKA CURSX ENJOY I WORKED HARD:
MADE BY ME AND @Ex_nightmare.”

On or about January 2, 2024, CONSPIRATOR 1, using a TextNow telephone number to
mask his identity, called the Houston County, Alabama Sheriff's Office and threatened to burn
down “Lot 2” in a residential trailer park located on US 84 in Cowarts, Alabama. On this call,
CONSPIRATOR 1 stated his name was VICTIM-1, that he had shot his son, and he threatened to
kill any law enforcement officers who arrived at the trailer park. As a result of CONSPIRATOR
1’s call, police rushed a SWAT response to the residential trailer park. Afterwards, a conspirator
posted on the Purgatory Telegram channel links to news reports, a photograph of the law
enforcement response to the swatting incident in Cowarts, Alabama, and the following message
directed at Victim 1:

zion we also had a little appearance by the men in camo get [expletive] you

harmless freak thinking he could talk [expletive] without any consequences is

appalling but makes our job a lot more fun when stuff like this happenes [sic] to

our victims after they have a [sic] ego let’s see him make a return in com
PURGATORY FOREVER

On or about January 4, 2024, CONSPIRATOR 2, using a Google Voice number, called

the Newark, Delaware Police Department and falsely claimed that his name was Richard

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Willson; that he heard a man firing shots in the hallway at Newark High School; and that he was
inside a classroom with ten other people Moments after this first call ended, CONSPIRATOR 1
called the department back and threatened to shoot Victim # 2, who was a teacher at Newark
High School, and to kill unnamed students. As a result of this call, which occurred in the middle
of a school day, the school was placed on lockdown and police officers responded to the scene.

That same day, CONSPIRATOR 1, using the moniker “synthetics,” messaged GRACE
in a Purgatory chat that “you saw what me wnd [sic] nightmare did to the school. Post it in
telegram chat,” to which GRACE, using the moniker “bit coin,” replied “yes.”

On or about January 5, 2024, GRACE, using the moniker “bit coin,” posted in the
Purgatory GC the address of the Hollywood Casino in Columbus, Ohio, the non-emergency
telephone number for Columbus Police Department, and the name of Victim #1. A conspirator
using the moniker “Mic Judge,” then posted in the PURGATORY Chat: “It’s on [expletive] we
got a casino With the name purgatory behind it.”

Later that day CONSPIRATOR 4 using a TextNow telephone number, called the
Columbus Police Department and threatened to blow up the Hollywood Casino in Columbus,
Ohio unless authorities delivered $100,000 to the casino. CONSPIRATOR 5, using a TextNow
telephone number, also called the Columbus Police Department and threatened to “start
shooting,” to “kill everyone here” and to blow up the Hollywood Casino in Columbus, Ohio
unless authorities delivered $100,000 in cash and a helicopter to the casino.

On or about January 5, 2024, GRACE, using the moniker “user data god,” sent a private
message on Instagram to CONSPIRATOR 1 in which he stated: “Ayo we got a school to do
tmr,” along with a Google Maps link to the address for Madison Vocational School in Roxbury,

Massachusetts.

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On or about January 7, 2024, a conspirator posted in the Purgatory Chat: “LETS GETA
HELL YEAH IF WE SHOULD SHUTDOWN A INTERNATINAL [sic] AIRPORT” to which
CONSPIRATOR 1, using the moniker “synthetics,” replied: “bet ill do it tmr.” .”
CONSPIRATOR 2, using the moniker “ex_nightmare,” later posted “Hell yeahhhh” and “Let’s
get it.”

On or about January 8, 2024, CONSPIRATOR 1, using a TextNow telephone number,
called the Albany Police Department in Albany, New York and stated that he was going to go
into the Albany International Airport to “shoot everybody up” and that his “friend” was going to
set off bombs in the airport. Police units then rushed to respond to these threats.

Later that day, CONSPIRATOR 1, using the moniker “synthetics,” bragged in the
Purgatory Chat “I just swatted a [sic] airport.”

Among other communications, GRACE engaged in the following conversation with his
conspirators discussing their activities:

GRACE: Any call targets today

CONSPIRATOR 2: Ill check

GRACE: we got 2 done

CONSPIRATOR 2: What got done

GRACE: Airport and someone random

CONSPIRATOR 1: I just did a airport

On or about January 8, 2024, GRACE, using the moniker “bit coin,” posted in the
PURGATORY Chat a screenshot of a message containing a link to a news report regarding the
swatting of the Albany International Airport, and stated: “purgatory on top...”

On or about January 15, 2024, CONSPIRATOR 1, using a TextNow telephone number,
called Fire Station #2 in Eastman, Georgia, and claimed that he had shot his aunt and two

juveniles and was considering shooting a third juvenile at an address on Fish Road in Eastman,

Georgia. Police units then rushed to respond to these threats

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SO STIPULATED:

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io Len. Otoxe.

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